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                                   Willie Lee HavMmeri, Plaintiff
                                                vs.
                                Methodist Health Systems, Defendant


                              Pandemic PRO SE
                                     Willie Lee HavMmeri, Plaintiff
                                                  vs.
                                  Methodist Health Systems, Defendant

                                    Case No. 3:22-cv-00594-E-BT

                  U.S. District Court Northern District of Texas (Dallas)

Assigned Judge: Ada Brown
Magistrate Judge: Rebecca Rutherford
Defendant’s Legal Team: Ogletree Deakins Nash Smoak & Stewart PC
(Employment Law Firm – Dallas, Texas)
Cause: 42:1983 Civil Rights (Employment Discrimination)
Nature of Suit: 442 Civil Rights: Employment
Date Filed: 03/14/2022

Today’s Date: June 30, 2023

Greetings Judge Ada Brown
I’ve already drafted my Objections to Recommendation to Dismiss and will submit it sooner
rather than later. I am currently so far behind on child support and traffic violations that I fear
going to jail before I get the chance to submit. However, I thank you for the July 7th Deadline.

I’ve known that the Magistrate Judge would recommend Dismissal since January of this year
when my Motion for Summary Judgement was dismissed as “Premature” and my Motion to
Continue was denied with the Magistrate’s only legal advice being summarized as:

If you do in fact, go to jail for your failure to pay child support and traffic violations, please
submit a change of address with the clerk’s office.”

Needless to say, the recommendation was not surprising. I just wish it came sooner than
Father’s Day weekend, as I have been respectfully requesting a decision for 6 months now.

With that said, I find myself a bit fortunate (or lucky) that the Magistrate Judge failed to actually
address my termination letter and my claims that the termination in itself was WRONGFUL.

There has been ZERO PROOF provided by the Defendant that I actually manipulated a financial
document. I never stole time as alleged on the termination letter and the defense has never
proven it.

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April 0f 2020 – October of 2020 A reminder of a National Disaster
The world was shaken to a standstill. Nothing would be as it was in 2019 and before. The
public was placed on stay at home orders. We were given documents stating we were
“essential workers”, should we be accosted by the police on our drives to work. Hospitals
implemented “no visitor rules”. Many of the elderly and infirmed died alone in hospitals with
loved ones unable to even see their final moments. Hospitals would only allow one visitor for
the birth of children, with new, expecting mothers having to choose between their mothers or
their children’s father as they delivered a baby.

The summer of 2020 brought continued “STAY AT HOME/STOP THE SPREAD” orders from the
government to the public. Zoom calls allowed professionals to work from home. Face to face
interactions were not only frowned upon but discouraged entirely.

Public lawlessness grew with the frustrated populace. A man named George Floyd was
murdered in broad daylight and riots ensued. A major American city, Portland Oregon, was
taken over for months. Mass death, destruction and inflation ravaged the nation. An
experimental vaccine was mass produced and pushed on society.

The great President Trump did all he could to hold the country together. It was an election
year. His opponent (Biden) campaigned from his basement and would go on to win a
presidential election that was pivotal in the direction of the country.

It was during this time of public unrest, government instability and future uncertainty that I was
unexpectedly fired for stealing time and forced into the position of suing my previous employer
to clear my good name and receive justice. 3 years later and this attempt at justice has now in
jeopardy due to deadlines that everyone knows was extremely difficult to keep regarding filing
paperwork.

To dismiss this case is to dismiss the notion that Covid-19 and the Pandemic played a significant
role in how the legal systems were designed to work for a plaintiff like myself. I realize this case
means more to me than everybody else reading these words but I’m an actual human being
who has suffered tremendously, thanks to the actions of the Defendant.

If Covid-19 was the fire that consumed the world for years, then my termination the gasoline
that ignited and engulfed my life. It could not have come at a worse time. I may never fully
recover from the magnitude of the careless and heartless actions of the Defendant, Methodist.

Today, as Methodist willfully and intentionally withholds crucial internal emails that vindicate
my wrongful termination, I now face dismissal for failure to state claims to which relief can be
granted.

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Pandemic Pro Se Litigant
1.This is the case of my life. This has been the most traumatic experience I’ve ever faced in my
43 years. I stand before the Court a man who was unexpectedly fired for stealing time right as
some new virus swept across the nation called Covid-19.

2.The streets were shut down to non-essential workers. The government facilities were closed
indefinitely. There were no going into law offices, sitting across from lawyers to look in the
eyes and plead why you needed their services. Zoom meetings became a thing. Electronic
Filings started gaining traction.

3.The world changed around me. The world changed around the Courts. My deadlines
remained concrete.

4.To voice the frustrations of seeking legal assistance during such a world altering circumstance
is an understatement. I cashed out my 401k and paid my mortgage while searching for a lawyer
via zoom calls. I was denied unemployment by the Defendant (later overturned). I had no
EEOC nor any other local, federal or state agencies to file claims. There were no one to answer
phone calls. There was no one to process mail while they worked from home.
As a litigant who represented himself, pro se, I was told to be patient with the process. This
could take years, I was told (it has now been over 3 years seeking justice). It took 18 months
after filing with the EEOC for my case to go from Dallas to Louisiana to San Antonio to finally
receive a “Right to Sue” to present to the U.S. District Courts.

5.During the 18 months of “processing” I kept being told that “due to covid…” and “because of
the shutdowns…” “please be patient as the entire country is dealing with this issue sir.” And
sure. I was patient. I understood what the country was enduring.

6.But what about what I’ve had to endure?

7.I clearly engaged in a protected activity and was fired 24 days later. The Defendant has
provided no evidence that the termination for manipulating financial documents was valid.

8.I was respectful of the agents that terminated me. I was understanding of the lack of lawyers
taking clients in person during that tumultuous time in the country. I was understanding that
the EEOC had not yet processed my mailed in claim by the 180th day. I patiently waited on a
phone for 6 straight hours to speak with a national operator for the EEOC. I truly understood
their rebuttals.

9.Now, as of today, the Magistrate Judge has heard my arguments and the Defendant’s only
contribution to this case, which was my own submission and decided to grant the Motion to

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Dismiss stating that I submitted my initial claim on the 181st day, missing the strict deadline by
one day. Imagine my frustration.

10.I’ve already cited the Federal Rules of Civil Procedure’s Rule 6 to which the Inaccessibility of
the Clerk’s Office must be factored in. The Magistrate did everything possible to excuse away
this crucial rule but even the Magistrate Judge had to admit: “Even if Rule 6 Applies…” {end
quote}

Because, despite efforts stating the opposite, there is no way around the fact that I tried
everything humanly possible (on my own accord) to state timely claims DURING A HISTORICAL
NATIONAL CALAMITY (Covid Shutdowns).

11.It was difficult to find locations to fax documents. It was difficult to pay for printing
documents with no income source. It’s been difficult to argue a case by QWERTY Keyboard and
without seeing a real, flesh and blood human being the entire 3 years of trials and proceedings.

12.I humbly ask the Courts to please consider the impact Covid had on my ability to file timely
documents, interact with legal professionals and present a well-articulated case before the
Court.




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I move to have my case continue toward trial. I will never let this case go until justice is served.
Dismissing this case without the Defendant pleading nor providing any evidence to refute my
claims is not justice. It’s taking advantage of a pro se litigant.

I assumed that the TWC Mediator, the EEOC Investigator, the Magistrate Judge and now the
Honorable Judge Ada Brown were the “adults in the room” for these matters of seeking legal
remedies. I truly thought that if I could just tell the grown ups, the authority figures exactly
what happened to me and don’t lie or embellish the truth, they (YOU) would be able to sort
these matters out and “Judge” what is fair.

As with the previous series of legal proceedings, I keep having to remind everyone that I’m the
“PLAINTIFF” in this case. I’m the one who has been wronged here. I’m a man that is truly
standing on the TRUTH and hoping somebody will hear me.

I look forward to hearing from you and pray that justice prevails.

Thank you for your patience with me in regards to my limited legal knowledge and
experience with addressing the Court.

Respectfully submitted,

By: _____/s/ Willie HavMmeri_________

Willie Lee HavMmeri, self-represented “Pro se”

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